                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION


------------------------------------------------------------X
JACOB DOE
                                Plaintiff,

      -against-                                                        No. 1:23-cv-00041

THE UNIVERSITY OF NORTH CAROLINA
SYSTEM, et al.
                                Defendants.
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                                               ORDER

        Pursuant to the Stipulation [ECF No. 31] entered into by the Plaintiff, Jacob Doe,
and Defendants Board of Governors of the University of North Carolina and University of
North Carolina at Chapel Hill Board of Trustees, and for other good cause shown, IT IS
HEREBY ORDERED that the above-captioned case shall be amended by correcting the
names BOARD OF GOVERNORS OF THE UNIVERSITY OF NORTH CAROLINA,
incorrectly designated as UNIVERSITY OF NORTH CAROLINA BOARD OF
TRUSTEES, and UNIVERSITY OF NORTH CAROLINA AT CHAPEL HILL BOARD
OF TRUSTEES, incorrectly designated as BOARD OF GOVERNORS OF THE
UNIVERSITY OF NORTH CAROLINA AT CHAPEL HILL, wherever they appear
throughout the record of the case.


        SO ORDERED this _____ day of _________, 2023.


                                                ___________________________
                                                Martin Reidinger
                                                Chief United States District Judge



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